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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN

PERRY BRADLEY #176332,

              Plaintiff,                  NO. 1:09-cv-1070

v                                         HON. ROBERT J. JONKER

RICHARD HALLWORTH, et al.,                MAG. HUGH W. BRENNEMAN, JR.

              Defendants.


Perry Bradley #176332                     COLLINS, EINHORN, FARRELL & ULANOFF, P.C.
In Pro Per                                Richard A. Joslin (P47510)
Lakeland Correctional Facility            Attorney for Defendants Dr. Jenkins
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Coldwater, MI 49036                       4000 Town Center, Suite 909
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Attorney for Defendant Lange
Michigan Department of Attorney General   CHAPMAN AND ASSOCIATES, P.C.
                                          Ronald W. Chapman (P37603)
Corrections Division
                                          Attorney for Defendants Dr. McQueen
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              BRIEF IN SUPPORT OF DEFENDANT NANCY LANGE'S
          MOTION TO STAY DISCOVERY PENDING RESOLUTION OF THE
             THRESHOLD ISSUES OF EXHAUSTION AND IMMUNITY


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                  CONCISE STATEMENT OF ISSUES PRESENTED

I.   Should the Court enter a protective order staying discovery pending resolution of
     threshold issues of exhaustion and immunity in this pro se prisoner civil rights action?

     Defendant Nancy Lange answers "Yes".
     The plaintiff would answer "No".




                                            i
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                CONTROLLING OR MOST APPROPRIATE AUTHORITY

       Under Fed. R. Civ. P. 26(c), a party from whom discovery is sought may move for a

protective order for good cause to protect a party from annoyance, embarrassment, oppression or

undue burden or expense.




                                               ii
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                                   STATEMENT OF THE FACTS

          This is a pro se prisoner civil rights action, filed by Michigan prison inmate Perry Vincent.

Plaintiff sues Defendant Lange, Health Unit Manager at Lakeland Correctional Facility (LCF).

Plaintiff sets forth no allegations against Defendant Lange in his Complaint, seeks to hold her

liable for the acts of her subordinate staff although the medical evidence shows nursing staff did

nothing but try to assist him in securing his medication, and relies on rejected grievances as

satisfaction of the Prison Litigation Reform Act's exhaustion requirement. Defendant Lange has

moved for dismissal based on those grounds and seeks entry of a Protective Order protecting her

from being required to partake in burdensome discovery that have no bearing on those threshold

issues.




                                                    1
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                                            ARGUMENT

I.       The Court should stay discovery pending resolution of Defendant Lange's potentially
         dispositive motion.

         A party from whom discovery is sought may move for a protective order for good cause to

protect a party from annoyance, embarrassment, oppression or undue burden or expense. 1 The

Prison Litigation Reform Act (PLRA) was enacted to curb the flow of inmate civil rights actions

that are frivolous, fail to state a claim, assert claims that are barred by immunity, or assert claims

that have not been properly exhausted through the State administrative process. This goal is

generally accomplished is through the district court's initial screening of pro se inmate civil rights

Complaints before docketing, if feasible, or as soon as practicable thereafter for identification of

cognizable claims; or by the defendants through an initial dispositive motion testing the validity of

the asserted claims. 2

         Permitting a pro se prison inmate to commence discovery prior to a ruling on whether his

claims against the defendant are even cognizable, particularly where as here, the request is broad,

overreaching, and does not pertain to the germane issues of whether the plaintiff properly

exhausted his administrative remedies and/or whether the claims asserted against this defendant

are barred by immunity, is a wasteful use of scare state resources. Therefore, the Court should

enter a Protective Order relieving Defendant Lange of this burden and waste. Should the plaintiff

require specific discovery in order to respond to Defendant Lange's pending, potentially

dispositive motion, he should be required to submit an affidavit setting forth the need for the

requested items.


1
 Fed. R. Civ. P. 26(c).
2
 See, e.g., Woodford v. Ngo, 548 U.S. 81 (2006); McGore v. Wrigglesworth, 114 F.3d 601, 608
(6th Cir. 1997); Yuhasz v. Brush Wellman, Inc., 341 F.3d 559, 566 (6th Cir. 2003) (quoting Rutman
Wine Co. v. E & J Gallo Winery, 829 F.2d 729, 738 (9th Cir. 1987); Sprague v. Brook, 149 F.R.D.
575, 577-78 (N.D. Ill. 1993); Petrus v. Bowen, 833 F.2d 581, 583 (5th Cir. 1987).

                                                   2
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                                                             RELIEF

          Wherefore, for the reasons stated, Defendant Lange respectfully requests that the Court

grant her motion and enter a protective order staying discovery pending resolution of threshold

issues of exhaustion and immunity.

                                                                         Respectfully submitted,

                                                                         Michael A. Cox
                                                                         Attorney General


                                                                         s/ Julia R. Bell
                                                                         JULIA R. BELL (P35367)
                                                                         Assistant Attorney General
                                                                         Attorney for Defendant Nancy Lange
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Date: April 21, 2010                                                     [P35367]
Bell\2010 FED\20100007605A Bradley\Brf in Sup of Mot to Stay Discovery




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